              Case 6:13-cv-06378-MAT Document 6 Filed 01/12/15 Page 1 of 1
AO 450 (Rev. 5/85) Judgment in a Civil Case




                      United States District Court
                                       WESTERN DISTRICT OF NEW YORK



          Tracee Perry                            JUDGMENT IN A CIVIL CASE
                                                  CASE NUMBER: 13-CV-6378
                    v.

          Monroe County



          9 Jury Verdict.     This action came before the Court for a trial by jury. The issues have
               been tried and the jury has rendered its verdict.

          : Decision by Court.    This action came before the Court. The issues
               have been heard and a decision has been rendered.

          IT IS ORDERED AND ADJUDGED that the case is terminated.




Date: 1/12/2014                                         MICHAEL J. ROEMER, CLERK

                                                        By: Barbara Keenan
                                                            Deputy Clerk
